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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS



IN RE: EpiPen (Epinephrine Injection, USP)       CASE NO.: 2:17-MD-02785-DDC-TJJ
Marketing, Sales Practices and Antitrust
Litigation                                       Hon. Daniel D. Crabtree
                                                 Hon. Teresa J. James


This Document Relates To :

SANOFI-AVENTIS U.S. LLC,                         CASE NO.: 2:17-CV-02452-DDC-TJJ

                             Plaintiff,

       v.

MYLAN Inc., et al.,

                             Defendants.


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Exhibit 1             Mylan, Inc. earnings call transcript, dated April 26, 2012
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                      Admission, dated April 30, 2018
Exhibit 3             Sanofi Press Release, dated January 28, 2013 (available at:
                      http://www.news.sanofi.us/press-releases?item=136807)
Exhibit 4             Sanofi Press Release, dated October 30, 2015 (available at:
                      http://www.news.sanofi.us/2015-10-28-Sanofi-US-Issues-Voluntary-
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